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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     NICHOLAS A. NAVARRETTE,                              Case No. 2:22-cv-00990-CDS-VCF
4                                            Plaintiff                    ORDER
5            v.
6     CHARLES DANIELS, et al.,
7                                       Defendants
8
9    I.     DISCUSSION

10          On June 23, 2022, Plaintiff, an inmate in the custody of the Nevada Department of

11   Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C. § 1983 and filed

12   an application to proceed in forma pauperis. (ECF Nos. 1-1, 1). Plaintiff’s application to

13   proceed in forma pauperis is incomplete. Plaintiff has not submitted a financial certificate

14   or an inmate account statement for the previous six-month period with his application.

15          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

16   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

17   action without prepaying the full $402 filing fee. To apply for in forma pauperis status, the

18   inmate must submit all three of the following documents to the Court:

19          (1) a completed Application to Proceed in Forma Pauperis for Inmate, on this

20          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

21          page 3),

22          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

23          official (i.e. page 4 of this Court’s approved form), and

24          (3) a copy of the inmate’s prison or jail trust fund account statement for the

25          previous six-month period.

26          Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis

27   (ECF No. 1) without prejudice because the application is incomplete. The Court will grant

28   Plaintiff a one-time extension to file a fully complete application to proceed in forma
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1    pauperis containing all three of the required documents. Plaintiff will file a fully complete
2    application to proceed in forma pauperis on or before August 23, 2022. Absent unusual
3    circumstances, the Court will not grant any further extensions of time. If Plaintiff does not
4    file a fully complete application to proceed in forma pauperis with all three required
5    documents on or before August 23, 2022, this case will be subject to dismissal without
6    prejudice for Plaintiff to file a new case with the Court when Plaintiff is able to acquire all
7    three of the documents needed to file a fully complete application to proceed in forma
8    pauperis or pays the full $402 filing fee.
9           A dismissal without prejudice means Plaintiff does not give up the right to refile the
10   case with the Court, under a new case number, when Plaintiff has all three documents
11   needed to submit with the application to proceed in forma pauperis. Alternatively, Plaintiff
12   may choose not to file an application to proceed in forma pauperis and instead pay the
13   full filing fee of $402 on or before August 23, 2022 to proceed with this case.
14          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1) but the Court
15   will not file the complaint unless and until Plaintiff timely files a fully complete application
16   to proceed in forma pauperis with all three documents or pays the full $402 filing fee.
17   II.    CONCLUSION
18          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed
19   in forma pauperis (ECF No. 1) is denied without prejudice to file a new fully complete
20   application to proceed in forma pauperis with all three documents.
21          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the
22   approved form application to proceed in forma pauperis by an inmate, as well as the
23   document entitled information and instructions for filing an in forma pauperis application.
24          IT IS FURTHER ORDERED that on or before August 23, 2022, Plaintiff will either
25   pay the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
26   administrative fee) or file with the Court:
27          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this
28          Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two



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1           signatures on page 3),
2           (2) a Financial Certificate properly signed by both the inmate and a prison or jail
3           official (i.e. page 4 of this Court’s approved form), and
4           (3) a copy of the inmate’s prison or jail trust fund account statement for the
5           previous six-month period.
6           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
7    application to proceed in forma pauperis with all three documents or pay the full $402
8    filing fee for a civil action on or before August 23, 2022, this case will be subject to
9    dismissal without prejudice for Plaintiff to refile the case with the Court, under a new case
10   number, when Plaintiff has all three documents needed to file a complete application to
11   proceed in forma pauperis or pays the the full $402 filing fee.
12          IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
13   (ECF No. 1-1) but will not file it at this time.
14          DATED: June 24, 2022
15
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16                                                UNITED STATES MAGISTRATE JUDGE
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